          Case 6:21-cv-01239-HLT-ADM Document 16 Filed 02/04/22 Page 1 of 3



                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                        )
                                                 )
             Plaintiff,                          )
                                                 )
v.                                               )            Case No. 21-1239-HLT-ADM
                                                 )
Defendant No. 1: 2019 DODGE RAM 1500             )
VIN: 1C6RR7KT5KS743006                           )
                                                 )
Defendant No. 2: 2017 Ford Explorer              )
VIN: 1FM5K7D85HGB20450                           )
                                                 )
Defendant No. 3: A parcel of property located at )
29564 HUNTER ROAD, GRAVOIS MILLS,                )
MISSOURI, with all appurtenances, improvements )
And attachments thereon;                         )
                                                 )
             Defendants.                         )

            UNOPPOSED MOTION TO STAY THIS CIVIL FORFEITURE CASE
          PENDING THE OUTCOME OF A RELATED CRIMINAL INVESTIGATION

       COME NOW, Claimants, Joseph W. Campbell, Laura J. Campbell, as Trustee of the Laura J.

Campbell Revocable Trust, and Titan Fish Partners, LLC, through their undersigned counsel of record,

respectfully move the Court pursuant to 18 U.S.C. § 981(g)(2), to stay these proceedings pending the

outcome of a pending criminal investigation involving the subject matter of the civil forfeiture. As grounds

for this motion, Claimants state the following:

   1. Assistant United States Attorney, Ms. Annette Gurney has advised that a criminal investigation

involving the Claimants in this civil forfeiture action is pending.

   2. Claimants have standing to file claim in this forfeiture case. Joseph W. Campbell asserts an interest

in the Defendant property, namely 2017 Ford Explorer, VIN: 1FM5K7D8HGB20450 on the basis that

Joseph W. Campbell is a title owner. (Doc. 11). Laura J. Campbell Revocable Trust asserts an interest in

Defendant property, namely 29564 Hunter Road, Gravois Mills, Missouri 65037 on the basis that the

Laura J. Campbell Revocable Trust is the owner. (Doc. 13). Titan Fish Partners, LLC asserts an interest
           Case 6:21-cv-01239-HLT-ADM Document 16 Filed 02/04/22 Page 2 of 3



in the Defendant property, namely 2019 Dodge Ram 1500, VIN: 1C6RR7KT5KS743006 on the basis that

Titan Fish Partners, LLC is the title owner. (Doc. 12).

    3. Continuation of this forfeiture case during the pendency of the criminal investigation will burden

Claimants’ privilege against self-incrimination should the related criminal investigation result in a

criminal prosecution.

    4. Claimants’ undersigned counsel has conferred with the Assistant United States Attorney, Ms.

Annette Gurney, and she does not oppose this stay.

    5. Because both this civil action and the criminal investigation presumably arise from the same

factual allegations, if civil discovery proceeds at this time, Claimants will be placed in the difficult position

of either invoking their Fifth Amendment rights against self-incrimination and losing the ability to pursue

this claim to the defendant property or waiving their Fifth Amendment rights and submitting to a

deposition and potentially incriminating themselves should the pending criminal investigation result in

criminal prosecution. If Claimants invoke their Fifth Amendment rights the government will be deprived

of the ability to explore the factual basis of their claims filed with this Court.

    6. Allowing the civil forfeiture case to go forward at this time would also adversely affect the

government. In this forfeiture action, Claimants intend to depose the agents, but if they do so the

government will object because it would reveal facts and evidence not subject to discovery under the

criminal rules.

    7. Claimants would be burdened by having to go forward with this civil forfeiture case while the

criminal investigation is still pending.

    WHEREFORE, for the foregoing reasons this action should be stayed for a period of six (6) months.

At that time the parties will advise the court of the status of the criminal case and will advise the court

whether a further stay is necessary.


Dated: February 4, 2022


                                                        Respectfully Submitted,
          Case 6:21-cv-01239-HLT-ADM Document 16 Filed 02/04/22 Page 3 of 3



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                                                   By:     /s/ Mark E. McFarland
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                                                   mmcfarland@hinklaw.com
                                                   Attorney for Claimants Joseph W. Campbell, Laura
                                                   J. Campbell, as Trustee of the Laura J. Campbell
                                                   Revocable Trust, and Titan Fish Partners, LLC



                                    CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 4 day of February, 2022, the above and foregoing Unopposed
Motion to Stay Civil Forfeiture Action Pending the Outcome of a Related Criminal Investigation was filed
under the above-captioned case number, and that a true and correct copy was sent to the following:

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 ATTORNEY FOR P LAINTIFF


                                                /s/ Mark E. McFarland
                                                ATTORNEY F OR C LAIMANTS
